                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    )    No. 3:07-CR-134
                                                       )    (VARLAN/GUYTON)
 JENNIFER FINCHUM,                                     )
                                                       )
                        Defendant.                     )

                                 MEMORANDUM AND ORDER

        This matter is before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this Court, and

 by the Order [Doc. 122] of the Honorable Thomas A. Varlan, United States District Judge, for

 disposition of defendant Jennifer Finchum’s Motion to Continue Plea Hearing and to Consolidate

 Plea and Sentencing Hearings. [Doc. 120] The defendant moves the Court to continue the change

 of plea hearing, previously scheduled for trial on January 27, 2009, to some point after May 1, 2009,

 and further moves the Court to consolidate the change of plea hearing and sentencing hearing, such

 that the defendant would be sentenced on the same date that she entered her guilty plea. The

 government opposes the motion. [Doc. 121]

        In support of her motion, the defendant argues that she would waive her speedy trial rights,

 that she has complied with her conditions of release, and points out that if the defendant’s motion

 is not granted, she would most likely face mandatory detention pending sentencing following the

 entry of her plea. In addressing the defendant’s arguments, the Court initially notes that the

 defendant’s speedy trial clock is currently set to expire on or around May 7, 2009. Accordingly, the

 defendant’s trial or change of plea must commence prior to that date, absent a continuance. See

 generally 18 U.S.C. § 3161. Furthermore, even if the defendant were to waive her speedy trial rights




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 so as to receive a continuance in this matter, the defendant cannot waive the rights of the public to

 a speedy trial. See United States v. Carrasquillo, 667 F.2d 382, 390 (3d Cir. 1981) (“We do not

 think a defendant may waive the public’s right to a speedy trial unless he complies with the

 requirements carefully set forth in section 3161(h).”) Rather, the Court should only grant a

 continuance under the Speedy Trial Act when certain conditions are met, such as when failure to

 continue a matter would result in a miscarriage of justice, would deprive a party of continuity of

 counsel, or would prevent effective preparation for trial. 18 U.S.C. § 3161(h)(7)(B). The Court

 finds no such basis for a continuance under these circumstances.

         While the Court appreciates the defendant’s arguments that she has complied with her

 conditions of release pending trial, the defendant has already been rewarded for such behavior by

 being allowed to remain out on bond pending trial. The Court expects any individual who is placed

 on bond to comply with his or her conditions of release. Failure to do so can result in the revocation

 or modification of those conditions, and compliance results in the individual remaining free pending

 trial. The Court does not believe that any further reward for compliance is necessary, nor

 appropriate, but would instead send the message that individuals should comply with Court Orders

 only if such compliance would result in additional future benefit, not out of respect for the Court’s

 legal authority. Similarly, while the Court also appreciates the defendant’s efforts to better her life

 and to leave behind her history of substance abuse, such actions are, again, their own reward, and

 are not a valid basis for a continuance under the Speedy Trial Act. The use of controlled substances

 is against the law, and the Court will not violate the Speedy Trial Act in order to reward the

 defendant for complying with drug control laws which every citizen is under a legal obligation to

 obey.


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        As the defendant noted in her motion, it takes approximately three months of time for the

 probation office to perform the necessary pre-sentencing investigation, to complete a pre-sentence

 report, and to allow the parties time to respond to the report. In the absence of a valid basis for a

 continuance, the Court will not extend the defendant’s change of plea date far enough into the future

 to allow that process to be completed so as to allow a joint change of plea/sentencing. Furthermore,

 given the statutory requirement of detention of individuals meeting certain conditions, including the

 violation of a drug offense with a maximum term of imprisonment of ten years or more (such as that

 of which the defendant is charged), Congress has clearly announced its intent that qualifying

 offenders be detained from the time of their conviction or guilty plea until their sentencing. See 18

 U.S.C. 3142(f)(1)(A)-(C), 3143(a)(2). It is not the place of this Court to ignore that Congressional

 mandate. While the government acknowledged that it had, in the past, argued that exceptions be

 made on a limited basis, the circumstances of such past exceptions are not before this Court, and

 thus the Court cannot intelligently determine whether such an exception is appropriate in this case.

 Rather, the Court must leave such decision to the sentencing District Court, and that is certainly an

 issue the defendant can raise should she choose to appeal this decision.

        Accordingly, the defendant’s motion [Doc. 120] is hereby DENIED, and a change of plea

 hearing is set for May 4, 2009, at 10:00 a.m. before the Honorable Thomas A. Varlan, United States

 District Judge, with a sentencing hearing to follow after that date.

        IT IS SO ORDERED.
                                                       ENTER:

                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




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